USDC IN/ND case 2:15-cr-00072-PPS-APR             document 454    filed 11/07/16   page 1 of 2


                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                              HAMMOND DIVISION

 UNITED STATES OF AMERICA,                )
                                          )
                     Plaintiff,           )
              v.                          )         Cause No. 2:15-cr-72
                                          )
 ANTONIO GAMINO,                          )
                                          )
                     Defendant.           )

                                         ORDER

       This matter is before me on the Findings and Recommendation of Magistrate

 Judge Andrew P. Rodovich relating to defendant Antonio Gamino’s request to enter a

 plea of guilty to Count 1 of the Second Superseding Indictment, pursuant to Rule 11 of

 the Federal Rules of Criminal Procedure. (See DE 260.) Following a hearing on the

 record on October 31, 2016, Judge Rodovich found that Gamino understands the nature

 of the charge, his rights, and the maximum penalties; that Gamino is competent to plead

 guilty; that there is a factual basis for Gamino’s guilty plea; and that Gamino knowingly

 and voluntarily entered into his agreement to enter a plea of guilty. (DE 449.) Judge

 Rodovich recommends that I accept Gamino’s plea of guilty and proceed to sentencing.

 (Id.) Neither party has objected to Judge Gamino’s Findings and Recommendation.

       Accordingly, I hereby ADOPT the Findings and Recommendation of the

 Magistrate Judge Upon a Plea of Guilty (DE 449) in their entirety. Defendant Antonio

 Gamino is ADJUDGED GUILTY of Count 1 of the second superseding indictment, and



                                              1
USDC IN/ND case 2:15-cr-00072-PPS-APR         document 454   filed 11/07/16   page 2 of 2


 the sentencing hearing is SET for February 3, 2017, at 10:00 a.m. Hammond/Central

 Time.

         SO ORDERED.

         ENTERED: November 7, 2016.
                                                s/ Philip P. Simon
                                                CHIEF JUDGE
                                                UNITED STATES DISTRICT COURT




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